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IN THE UNITED STATES BANKRUPTCY COURT

FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

W. R. GRACE & CO,, et ai.,' Case No. 01-01139 (IKF)

Jointly Administered

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Debtors

NOTICE OF AGENDA OF MATTERS SCHEDULED
FOR HEARING ON MARCH 25, 2008, AT 8:30 A.M. BEFORE THE
HONORABLE JUDITH K. FITZGERALD IN PITTSBURGH, PENNSYLVANIA

PARTIES WISHING TO PARTICIPATE TELEPHONICALLY MUST MAKE
ARRANGEMENTS THROUGH COURTCALL BY TELEPHONE (866-582-6878) OR.
FACSIMILE (866-533-2946), NO LATER THAN NOON ON FRIDAY, MARCH 21, 2008
AND OTHERWISE COMPLY WITH THE AMENDED ORDER ESTABLISHING CASE
MANAGEMENT PROCEDURES AND HEARING SCHEDULE [DOCKET NO. 7709]

UNCONTESTED MATTERS

1. Motion of Debtors’ for Entry of an Order Authorizing Liability Transfer Agreement for
Certain Environmental Liabilities and Properties [Filed: 2/22/08] (Docket No. 18110)

The Debtors consist of the following 62 entities: W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.), W.
R Grace & Co.-Conn., A-1 Bit & Toot Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon, Inc,, CB
Biomedical, Inc. (f/k/a Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc., Creative Food "N
Fun Company, Darex Puerto Rico, Inc., Dei Taco Restaurants, Inc., Dewey and Almy, LLC (f/k/a Dewey and Almy
Cornpany), Ecarg, Inc., Five Alewife Boston Lid., G C Limited Partners I, Inc. (f/k/a Grace Cocoa Limited Partners
I, Inc.), G C Management, Inc. (f/k/a Grace Cocoa Management, Inc.), GEC Management Corporation, GN
Holdings, Inc., GPC Thomasville Corp., Gloucester New Communities Company, Inc., Grace A-B Inc., Grace A-B
Il Ine., Grace Chemical Company of Cuba, Grace Culinary Systems, Inc., Grace Drilling Company, Grace Energy
Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace A-G Inc., Grace H-G TI Inc., Grace Hotel
Services Corporation, Grace International Holdings, Inc. (f/k/a Dearborn International Holdings, Inc.), Grace
Offshore Company, Grace PAR Corporation, Grace Petroleum Libya Incorporated, Grace Tarpon Investors, Inc.,
Grace Ventures Corp., Grace Washington, Inc., W. R. Grace Capital Corporation, W. R. Grace Land Corporation,
Gracoal, Inc., Gracoal II, Inc., Guanica-Caribe Land Development Corporation, Hanover Square Corporation,
Homco International, Inc., Kootenai Development Company, L B Realty, Inc., Litigation Management, Inc. (f/k/a
GHSC Holding, Inc., Grace JVH, Inc., Asbestos Management, Inc.), Monolith Enterprises, Incorporated, Monroe
Street, Inc., MRA Holdings Corp. (f/k/a Nester-BNA Holdings Corporation), MRA Intermedco, Inc. (i/k/a Nestor-
BNA, Inc.), MRA Staffing Systems, Inc. (/k/a British Nursing Association, Inc.), Remedium Group, Inc. (ik/a
Environmental Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin
& Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Partners (ik/a Cross Country
Staffing), Hayden-Gulch West Coal Company, H-G Coal Company.

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Related Documents:

a. [Proposed] Order Authorizing Liability Transfer Agreement [Filed: 2/22/08]
(Docket No, 18110)

b. Notice of Motion and Hearing on Debtors’ Motion for Entry of an Order
Authorizing Liability Transfer Agreement for Certain Environmental Liabilities
and Properties [Filed: 2/29/08] (Docket No. 18177)

Response Deadline: March 19, 2008, at 4:00 p.m. (extended until March 20, 2008 for

the NY State Dept ef Environmental Conservation, the Official Committee of

Unsecured Creditors and ICI Americas, Ine.)

Responses Received: None as of the date of this Notice of Agenda.

Status: This matter will go forward.

CONTESTED MATTERS

2. Motion of the City of Charleston, South Carolina for Relief from the Automatic Stay
[Filed: 12/21/08} (Docket No. 17685)

Related Documents:

a. [Proposed] Order Granting Motion of City of Charleston, South Carolina for
Relief From the Automatic Stay [Filed: 12/21/07] (Docket No. 17685)

Response Deadline: January 11, 2008, at 4:00 p.m.

Responses Received:

a. Debtors’ Objection to the Motion of the City of Charleston, South Carolina for
Relief From the Automatic Stay [Filed: 1/11/08] (Docket No. 17807)

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Status; This matter will go forward.

Dated: March 18, 2008

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-and—
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